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                      UNITED STATES DISTRICT COURT
            WESTERN DISTRICT OF TENNESSEE
                  WESTERN DIVISION


BRUCE COLEMAN, individually                     JUDGMENT IN A CIVIL CASE
and on behalf of all other
similarly situated

v.

MID-SOUTH ATMS, LLC                             CASE NO: 11-2647-A




DECISION BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.


IT IS SO ORDERED AND ADJUDGED that in accordance with the Joint
Stipulation Of Dismissal Of Complaint With Prejudice and the Joint
Stipulation Of Dismissal Of Counter-Claim With Prejudice entered on
October 28, 2011, this cause is hereby dismissed with prejudice.




APPROVED:


s/ S. Thomas Anderson
UNITED STATES DISTRICT COURT

DATE: 10/28/2011                              THOMAS M. GOULD
                                         Clerk of Court


                                                s/Terry L. Haley
                                         (By)    Deputy Clerk
